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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

TV TOKYO CORPORATION,                                        )
                                                             )   Case No. 24-cv-8623
        Plaintiff,                                           )
                                                             )    Judge Elaine E. Bucklo
v.                                                           )
                                                             )
THE INDIVIDUALS, CORPORATIONS,                               )
LIMITED LIABILITY COMPANIES,                                 )
PARTNERSHIPS AND UNINCORPORATED                              )
ASSOCIATIONS IDENTIFIED                                      )
ON SCHEDULE A HERETO,                                        )
                                                             )
        Defendants.                                          )

      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO DEFENDANT NO. 121

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff TV TOKYO
CORPORATION hereby dismisses without prejudice all causes of action in the complaint as to the
Defendant identified below and in Schedule A. No motions are pending relative to this Defendant. Each
party shall bear its own attorney's fees and costs.
        No.      Defendant
        121      mymediaworld

        The respective Defendant has not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.


                                                      Respectfully submitted,

Dated: November 22, 2024                              By:    s/Michael A. Hierl
                                                             Michael A. Hierl (Bar No. 3128021)
                                                             William B. Kalbac (Bar No. 6301771)
                                                             Robert P. McMurray (Bar No. 6324332)
                                                             John Wilson (Bar No. 6341294)
                                                             Hughes Socol Piers Resnick & Dym, Ltd.
                                                             Three First National Plaza
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                                                             Attorneys for Plaintiff
                                                             TV TOKYO CORPORATION
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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on November 22, 2024.



                                                          s/Michael A. Hierl
